Case No. 1:24-cv-00583-DDD-STV Document 2 filed 03/01/24 USDC Colorado pg 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 24-cv-00583

  UNITED STATES OF AMERICA,

               Plaintiff,

  v.

  1.    REAL PROPERTY LOCATED AT 760 WEST BEAVER CREEK BOULEVARD,
        APT 111, AVON, COLORADO;
  2.    REAL PROPERTY LOCATED AT 35 LOWER WOODBRIDGE ROAD, #P157,
        SNOWMASS VILLAGE, COLORADO;
  3.    REAL PROPERTY LOCATED AT 35 UPPER WOODBRIDGE ROAD, #17AB,
        SNOWMASS VILLAGE, COLORADO;
  4.    REAL PROPERTY LOCATED AT 254 WREN COURT, #204, BASALT,
        COLORADO;
  5.    REAL PROPERTY AND ALL APPURTENANCES, ATTACHMENTS, AND
        FURNISHINGS THERETO LOCATED AT 6997 TREMOLITE DRIVE, CASTLE
        ROCK, COLORADO;
  6.    REAL PROPERTY LOCATED AT 2208 ELK LANE, BASALT, COLORADO;
  7.    2021 FORD BRONCO, VIN: 1FMEE5DP9MLA90163;
  8.    2022 CHEVROLET CORVETTE STINGRAY CONVERTIBLE, VIN:
        1G1YB3D47N5121476;
  9.    2022 PORSCHE TAYCAN SEDAN, VIN: WPOAA2Y18NSA16701;
  10.   2023 CADILLAC ESCALADE, VIN: 1GYS4FKL1PR523454;
  11.   CRYPTOCURRENCY HELD IN COINBASE ACCOUNT
        594304c17d0b3d025a5ff785;
  12.   CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
        0xAD71a7c34de9C27224386DAf370Ad4BdE7f7575D;
  13.   CRYPTOCURRENCY AND NFTS HELD IN ADDRESS
        0xbd08Bdea67fDB84dE8223513F70D9b9bE3C30580;
  14.   2021 YAMAHA RAPTOR MODEL NUMBER YFM09RYXLW;
  15.   MISCELLANEOUS PAINTINGS LISTED IN ATTACHMENT A;
  16.   MISCELLANEOUS HERITAGE VINTAGE SPORT AUCTIONS ITEMS LISTED
        IN ATTACHMENT B;
  17.   APPROXIMATELY $242,962.96 IN FUNDS FROM ALPINE BANK ACCOUNT
        8911911837; and
  18.   APPROXIMATELY $24,384.41 IN FUNDS FROM ALPINE BANK ACCOUNT
        8911911951.

               Defendants.

                                         1
Case No. 1:24-cv-00583-DDD-STV Document 2 filed 03/01/24 USDC Colorado pg 2 of 3




                 UNITED STATES’ MOTION FOR LEAVE TO RESTRICT
                 THE VERIFIED COMPLAINT FOR FORFEITURE IN REM


         COMES NOW the United States of America (the “United States”), by and through

  United States Attorney Cole Finegan and Assistant United States Attorney Tonya

  Andrews, respectfully moves for an order restricting the Verified Complaint for Forfeiture

  In Rem at Level 2, limiting access to the employees of the United States Attorney’s

  Office and law enforcement agents. In support of this Motion, the United States states:

         1.     Said Verified Complaint for Forfeiture In Rem has been filed as a part of a

  continuing investigation.

         2.     The release of the information in the Complaint in this matter may

  substantially jeopardize the ongoing investigation, as well as related investigations,

  based on concerns of possible destruction of or tampering with evidence and other

  potential obstructive conduct.

         3.     At this juncture, public interest in access to these submissions does not, it

  is respectfully submitted, outweigh the foregoing interests or the interests of the

  subjects and targets of the investigation in avoiding undue reputational harm.

         WHEREFORE, the United States respectfully requests that the Verified

  Complaint for Forfeiture In Rem be restricted at Level 2, until further order of the Court.

         DATED this 1st day of March, 2024.

                                                   Respectfully submitted,

                                                   COLE FINEGAN
                                                   United States Attorney

                                               2
Case No. 1:24-cv-00583-DDD-STV Document 2 filed 03/01/24 USDC Colorado pg 3 of 3




                                      By: s/ Tonya Andrews___________
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                                       3
